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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

IN RE:                                                                Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., etal,1 * *                               Case No.: 22-17842-PDR

         Debtors.                                                     (Jointly Administered)
                                                         /

             DEBTORS’ NOTICE OF ABANDONMENT OF PERSONAL PROPERTY

         Vital Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property

Holdings, EEC, JHO Real Estate Investment, EEC, Quash Seltzer, EEC, Rainbow Unicom Bev

EEC and Vital Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”), by and

through their undersigned counsel, give notice of the proposed abandonment of the vehicles

listed on the attached Exhibit “A” (collectively, the “Vehicles”). In support of the abandonment,

the Debtors represent as follows:

         1.      On January 27, 2023, Debtors filed Debtors’ Motion for An Order (I) Approving

(A) Bidding Procedures for the Sale of Substantially all of the Debtors' Assets, (B) Procedures

for the Debtors' Assumption and Assignment of Certain Executory Contracts and Unexpired

Leases, (C) the Form and Manner of Notice of the Sale Hearing, Assumption Procedures, and

A uction Results, (D) Dates for an Auction and Sale Hearing, (E) the Sale of Substantially all off

the Debtors' Assets Free and Clear of all Claims, Liens, Liabilities, Rights, Interests and



1 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii)
JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer,
LLC (6501); (vi) Rainbow Unicom Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc.
(8019).

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Encumbrances, and (F) the Debtors' Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases, (II) Authorizing The Debtors to Provide Bid Protections, and (III)

Granting Related Relief filed by Debtor Vital Pharmaceuticals, Inc. [ECF No. 707] (the “Sale

Motion”). On June 28, 2023, the Debtors filed a Notice of Auction Cancellation and Successful

Bidder [ECF No. 1546], announcing that the Debtors entered into an Asset Purchase Agreement

(“APA”) by and between certain of the Debtors and Blast Asset Acquisition, LLC, an acquisition

vehicle that is a subsidiary of Monster Beverage Corporation (the “Buyer”) and scheduled a

hearing to approve the APA on July 12, 2023 (the “Sale Hearing”).2

         2.      On July 12, 2023, the Court conducted the Sale Hearing and approved the APA,

which was memorialized by the entry of the Order (I) Authorizing and Approving (A) the Sale of

Substantially All of The Debtors ’ Assets Free and Clear ofAll Liens, Claims, And Encumbrances

And (B) The Assumption And Assignment Of Certain Executory Contracts and Unexpired Leases

in Connection Therewith, And (II) Granting Related Relief \EC¥ No. 1654],3

         3.      The transaction contemplated by the APA closed on July 31, 2023 4

         4.      The Buyer is not acquiring the Vehicles pursuant to the APA.

         6.      The Vehicles are encumbered by liens, have little, if any, equity, and the Debtors

have determined loan balances plus the cost of attempting to sell or auction the Vehicles exceed



9
 On June 30, 2023, the Debtors filed the Amended Notice ofAuction Cancellation and Successful Bidder [ECF No.
1556] to disclose the date and time of the Sale Hearing.
2
  The Court subsequently entered the Amended Order (I) Authorizing and Approving (A) the Sale of Substantially
All of The Debtors ’ Assets Free and Clear of All Liens, Claims, And Encumbrances And (B) The Assumption And
Assignment Of Certain Executory Contracts and Unexpired Leases in Connection Therewith, And (II) Granting
Related Relief \ECT No. 1658], which amended Exhibit B thereto.
4 See Notice Sale Closing [ECF No. 1750] filed on July 31, 2023.

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their fair market value. Accordingly, the Debtors seek to abandon the Vehicles back to their

respective lienholders identified on Exhibit "A", as they are burdensome and of inconsequential

benefit to the Debtors estates.

     PURSUANT    TO BANKRUPTCY RULE         6007, THE PROPOSED
     ABANDONMENT WILL BE DEEMED APPROVED WITHOUT NECESSITY
     OF A HEARING OR ORDER, IF NO OBJECTION IS FILED AND SERVED
     WITHIN 14 DAYS AFTER THE DATE OF SERVICE OF THIS NOTICE.5

 Dated: August 7, 2023                                             Respectfully submitted,
        Miami, Florida
                                                                    s Michael.I. Niles______________
 George A. Davis (admittedpro hac vice)                            Jordi Guso
 Tianjiao (“TJ”) Li (admittedpro hac vice)                         Florida Bar No. 863580
 Brian S. Rosen (admittedpro hac vice)                             Michael J. Niles
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 - and -

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- and -




5 Although there is no Certificate of Service included in this Notice reflecting the date of service, this Notice will be
served today, August 7, 2023, by the Debtors’ notice, claims and solicitation agent, Stretto, Inc.

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                               Co-Conmelfor the Debtors




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              EXHIBIT A
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Vital Pharmaceuticals, Inc.
Vehicles Surrender Listing

          VIN                  Year Manufacturer    Model Name             Type      Lienholder
  54DCDW1B5KS809338           2019 Chevrolet     3500/4500            Beverage Truck Ally


  54DCDW1B1KS808834           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B2KS807756           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B0KS808193           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B4KS808195           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B0KS808176           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B2KS808194           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B9KS808175           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B8KS808152           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B6KS808151           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B0KS807075           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B7KS807753           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B6KS808814           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B6KS807078           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B3KS809337           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B6KS809039           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B7KS808837           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B9KS809083           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B3KS808835           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B3KS809080           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B5KS809341           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1B8KS807079           2019   Chevrolet      350(00            Beverage Truck   Ally
  54DCDW1B4KS807080           2019   Chevrolet      3500/4500         Beverage Truck   Ally
  54DCDW1BXKS808332           2019   Chevrolet      3500/4500         Beverage Truck   GM
  54DCDW1B6KS809042           2019   Chevrolet      3500/4500         Beverage Truck   GM
  54DCDW1B6KS808330           2019   Chevrolet      351/4500          Beverage Truck   GM
  54DCDW1B5KS808786           2020   Chevrolet      3500/4500         Beverage Truck   Ally
  JALEEW164L7301622           2020   Chevrolet      5500XD            Beverage Truck   Ally
  54DCDW1D7LS208905           2020   Chevrolet      4500              Beverage Truck   GM
  54DCDW1D4LS209090           2020   Chevrolet      4500              Beverage Truck   GM
  JALEEW16XL7301771           2020   Chevrolet      5500XD            Beverage Truck   GM
  54DCDW1D2LS208830           2020   Chevrolet      4500              Beverage Truck   GM
